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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 0:20-CV-61872-AHS

  ALAN DERSHOWITZ,

          Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

        Defendant.
  _______________________________/

       CNN’S MOTION TO COMPEL PLAINTIFF’S COMPLIANCE WITH APRIL 21, 2022
          DISCOVERY ORDER, AND INCORPORATED MEMORANDUM OF LAW 1

           Defendant Cable News Network, Inc. (“CNN”) respectfully moves under Fed. R. Civ. P.

  37(a), and in accordance with Local Rule 26.1(g)(2), to compel Plaintiff Alan Dershowitz

  (“Plaintiff”) to comply with this Court’s discovery order of April 21, 2022 (“Order”), and to award

  CNN its attorneys’ fees and costs in bringing this motion pursuant to Fed. R. Civ. P. 37(a)(5).

           On April 21, 2022, this Court granted in part CNN’s motion to compel Plaintiff to produce

  additional documents. 2 Now, more than two months after the Court’s order, Plaintiff’s production

  remains incomplete and his counsel has confirmed he is only just beginning to collect and review

  potentially responsive documents from his own files. Most recently, his newly substituted counsel

  took the position that Plaintiff need not search his Harvard University emails that have been

  “archived” by the school under the theory that those documents are not in his “possession.” This

  position is untenable, not only because the Federal Rules of Civil Procedure obligate a party to

  produce documents in his “possession, custody, or control,” Fed. R. Civ. P. 34(a)(1) (emphasis


  1
   Permission to file this motion was granted by chambers on June 29, 2022.
  2
   The Court’s specific rulings are set forth in the transcript of the hearing held April 21, 2022 (the “April 21 Hearing”).
  See ECF No. 105 (“April 21 Tr.”), at 150–170.

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  added), but because Plaintiff had previously agreed to search those documents, and has been

  required to produce responsive documents from that exact account in multiple other litigations.

  See infra p.5. There is no justification, at this late date, for Plaintiff to flout his discovery

  obligations in a case he brought, seeking $300 million in damages. This Court should order him to

  comply with the Order or face more serious sanctions pursuant to Fed. R. Civ. P. 37(b)(2)(A). At

  a minimum, Plaintiff should be required to pay CNN’s costs incurred in bringing a motion that

  simply asks him to comply with this Court’s direct orders. See Fed. R. Civ. P. 37(b)(2)(C).

                                             Factual Background

           At a hearing on April 21, 2022, Magistrate Judge Valle ordered Plaintiff to produce

  additional documents responsive to certain of CNN’s Requests by May 9, 2022. But, as to Request

  Nos. 17, 19, 22, 26, 28, and 29, Plaintiff has failed to comply. See ECF No. 64 (“JSR”) at 4-5, 8;

  ECF No. 94 (“Supp. JSR”) at 5; April 21 Tr. at 159:19–23, 160:13–15, 169:2–4, 170:6–171:11.

           CNN has been seeking the ordered discovery since May 9th, when Plaintiff served revised

  versions of his written discovery responses and acknowledged that he would produce additional

  documents “under separate cover,” within the day. Bolger Decl. ¶ 6; Ex. 1 (May 9 Email); Ex. 2. 3

  It was not until May 27, 2022, however, that Plaintiff first produced any documents pursuant to

  the Court’s Order. Bolger Decl. ¶ 6. Plaintiff also informed CNN that there was a “practical”

  issue with his ability to produce “archive[d]” emails from his Harvard University email account

  and requested that CNN provide search terms to facilitate the retrieval of responsive documents.

  Ex. 3. CNN did so, expecting Plaintiff to then search the emails. Ex. 4.

           Over the following weeks, CNN repeatedly asked Plaintiff about the status of his Harvard

  emails and when he anticipated completing his document production. Plaintiff never provided any


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   In compliance with the Court’s Order, on May 9, 2022, CNN provided Plaintiff with supplemented responses to his
  Requests for Production and Interrogatories, and made a supplemental document production. See Bolger Decl. ¶ 4.

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  clear answers. Bolger Decl. ¶ 11. Plaintiff’s counsel reaffirmed that Plaintiff was not “unwilling”

  to request that Harvard perform keyword searches of the account, but that his counsel still “ha[d]

  to gain a better understanding on how that would work.” Ex. 5.

           On June 10, 2022, Plaintiff filed a motion to substitute new counsel. ECF No. 144. On

  the morning of June 13th, CNN emailed Plaintiff’s new counsel to inform him of these discovery

  issues. Exs. 6-7. CNN conferred with Plaintiff’s new counsel four times by video conference and

  phone between June 15 and June 28. Bolger Decl. ¶¶ 18-19. At the first meeting, Plaintiff’s

  counsel explained that he was still in the process of obtaining the full case file, but that Plaintiff

  intended to comply with his discovery obligations. Id. ¶ 18. At the second meeting on June 20,

  Plaintiff’s counsel stated that Plaintiff was in the process of reviewing his files for additional

  responsive documents but did not indicate when that review would be complete. He also stated

  that Plaintiff did not believe he was obligated to review and produce emails that had been archived

  by Harvard, because they were not in his “possession” – a position that he had not previously

  asserted in this litigation. Id. ¶¶ 9, 13, 19. During phone calls on June 27 and 28, Plaintiff’s

  counsel was still unable to provide a date certain when a “rolling production” of documents in

  Plaintiff’s immediate possession would even begin, let alone be complete. Id. ¶¶ 25-26. He also

  still declined to agree that Plaintiff would search his archived Harvard emails. Id. ¶ 26.

                                               Argument

           It is axiomatic that parties are required to obey direct orders from the court. See, e.g.,

  Charlemagne v. Alibayof, 2022 WL 1642384, at *4 (S.D. Fla. Apr. 19, 2022) (“[F]ailure to comply

  with court orders is an ‘abuse of the judicial process’”).

           First, this Court should compel Plaintiff to search his own files for responsive documents

  and complete that production by a date certain. Plaintiff’s supplemental production contains only



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  documents that he previously collected and/or produced in connection with other litigations. See

  Ex. 5 at 1. While that is a good start, Plaintiff has conceded the Court’s Order required him to

  search for and produce documents specifically responsive to the Requests in this case. See Bolger

  Decl. ¶¶ 18-19. He is only just beginning to do that, and will not commit to any concrete timing,

  even months after the Court issued the Order, and with weeks remaining in the discovery period.

           Second, Plaintiff should be compelled to produce responsive emails from his Harvard email

  account, including any that have been “archived.” Until last week, there was no disagreement on

  this – the issue was merely Plaintiff’s delay. Now, however, Plaintiff’s new counsel is asserting

  that Plaintiff is not obligated to search for those documents because they are not in his

  “possession.” Id. This misguided position seemingly is based on the Court’s Court order that

  Plaintiff “produce documents in his possession.” April 21 Tr. at 160:16-18; see also id. at 159:11-

  13, 160:13-15, 168:16-20. There was no indication the Court was purporting to excuse Plaintiff

  from complying with the clear obligations imposed on all litigants by the Federal Rules of Civil

  Procedure: production of documents “in the responding party’s possession, custody or control.”

  Fed. R. Civ. P. 34(a)(1) (emphasis added). Indeed, Plaintiff never objected to producing emails

  from his Harvard account. See JSR; Supp. JSR.

           On the contrary, he agreed to it; Plaintiff’s prior counsel solicited search terms from CNN

  to facilitate the search of the “archived” Harvard emails and stated explicitly that he was not

  “unwilling” to search these emails. Ex. 5. Plaintiff seems to have used the substitution of counsel

  to justify an apparent change of heart. But, Plaintiff may not switch counsel and then, weeks after

  the deadline to file any objection to the Court’s Order, announce that he will be applying a brand




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  new interpretation of that Order. 4 Plaintiff is required to produce responsive documents within his

  possession, custody and control, just as all litigants are required to do in federal court.

           The emails in Plaintiff’s Harvard account – even those that have been archived– are

  unquestionably within his “control.” The Eleventh Circuit has made clear in the discovery context

  that “[c]ontrol is defined not only as possession, but as the legal right to obtain documents

  requested upon demand.” Searock v. Stripling, 736 F.2d 650, 653 (11th Cir. 1984). “[D]ocuments

  have been considered to be under a party’s control (for discovery purposes) when that party has

  the right, authority, or practical ability to obtain the materials sought on demand.” Costa v. Kerzner

  Int’l Resorts, Inc., 277 F.R.D. 468, 470–71 (S.D. Fla. 2011). And courts repeatedly have ordered

  Plaintiff to obtain and produce documents from his Harvard account, even when doing so required

  retrieving emails from the university’s data archives. In his ongoing libel suit against Virginia

  Giuffre in the Southern District of New York, for example, after a two-year battle, the court granted

  Giuffre’s motion to compel Plaintiff to produce responsive emails from his Harvard account. See

  Giuffre v. Dershowitz, 2022 WL 827825, *2-3 (S.D.N.Y. Feb. 14, 2022). 5 Here, as in Plaintiff’s

  other cases, Plaintiff should be directed to immediately retrieve all responsive emails from his

  Harvard account, on penalty of further sanctions.

           For these reasons, the Court should grant CNN’s motion to compel, and, pursuant to Fed.

  R. Civ. P. 37(b)(2)(C), award CNN its costs and attorneys’ fees incurred in making this motion.




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    Cf. MHG Hotels, LLC v. Studio 78, LLC, 2021 WL 8894454, at *1 (S.D. Fla. May 25, 2021) (Singhal, J.) (“Although
  the Court recognizes the complications that come with retaining new counsel in the middle of litigation, new counsel
  is still required to comply with Court orders[.]”).
  5
    In another case in this Court – a libel action Plaintiff brought against Netflix – there was no question that responsive
  documents were located in Plaintiff’s Harvard account, and, as here, Plaintiff had not originally objected to producing
  documents from that account. As here, he failed to produce those documents, but ultimately agreed on the record in
  court that he would press Harvard to retrieve them. See Ex. 10 (transcript of December 16, 2021 hearing in Dershowitz
  v. Netflix, Inc., No. 21-cv-21961-CMA (S.D. Fla.)), at 4:20-6:17, 13:7-18.

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                                     CERTIFICATE OF CONFERRAL

           Pursuant to S.D. Fla. L.R. 7.1(a)(3), the undersigned hereby certifies that counsel for CNN

  has conferred with Plaintiff’s counsel in a good faith effort to resolve the issues raised in this

  motion. Specifically, counsel for CNN conferred with Plaintiff’s counsel by Zoom on June 15 and

  June 20, 2022, and by telephone on June 27, 2022 and June 28, 2022. Despite these efforts, counsel

  were unable to reach agreement on the issues raised in this motion.

           On June 29, 2022, counsel for CNN spoke by telephone with the Court’s law clerk, Mr.

  Hugh Hooper, and set forth the disputed issues discussed above and the fact that the parties were

  not able to resolve them through negotiation. Mr. Hooper informed CNN that it had the Court’s

  permission to file the foregoing motion.

                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed and

  served via the Court’s CM/ECF portal on this 29th day of June, 2022 to Mark Schweickert, Esq.,

  mark@schweikertlaw.com, Schweickert Law, Counsel for Plaintiff, 1111 Brickell Avenue, Suite

  1550, Miami, Florida 33131.

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